     Case 2:12-cv-05787-FMO-PJW Document 27 Filed 06/24/13 Page 1 of 2 Page ID #:110




 1     David Hong, Esq. (CA# 195795)
       david.hong@dhpatentlaw.com
 2     LAW OFFICE OF DAVID HONG
       P.O. Box 211, Santa Clarita, CA 91386-2111
 3     Tel: (866) 824-8680
       Fax: (866) 824-8680
 4
       Attorney for Plaintiff AIR DIMENSIONAL DESIGN, INC.
 5
                                                                                     JS-6
 6

 7                             UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9
                                        )              Case No.: CV12‐5787 FMO (PJWx)
10     AIR DIMENSIONAL DESIGN, INC., )
                                        )              STIPULATION OF DISMISSAL
11     a California corporation,        )              WITH PREJUDICE AND
                                        )              ORDER
12                  Plaintiff           )
                                        )
13            vs.                       )              Hon. Judge Fernando M. Olguin
                                        )              Courtroom: Spring St. #22
14     HAPPY JUMP INC., a California    )              Judge Courtesy Copies: dropbox
                                        )              outside CR#22, 5th Floor
15     corporation; and ROUBIK AMIRIAN, )
                                        )
16     an individual,                   )
                                        )
17                  Defendants          )
                                        )
18
             The Plaintiff AIR DIMENSIONAL DESIGN, INC. and the Defendants
19
       HAPPY JUMP INC. and ROUBIK AMIRIAN having reached a complete
20
       settlement of their disputes pursuant to a June 2013 Confidential Settlement
21
       Agreement, through their counsel of record, stipulate as follows:
22
             1.      All claims and counterclaims by all parties in this action are hereby
23
       dismissed with prejudice.
24

25


       _____________________________________________________________________________________________

                                                                       CV12‐5787 FMO (PJWx) – Page 1
     Case 2:12-cv-05787-FMO-PJW Document 27 Filed 06/24/13 Page 2 of 2 Page ID #:111




 1           2.      Each party shall bear its own costs and attorney's fees incurred in this
 2     action.
 3           3.      This Court (Western Division, Central District of California) shall
 4     retain exclusive jurisdiction over any action or motion relating to breach or
 5     enforcement of the "Confidential Settlement Agreement" between the parties.
 6     Respectfully submitted,
 7                                               Respectfully submitted,
 8                                               LAW OFFICE OF DAVID HONG
 9     Dated:                                    _________________
10                                               David Hong, Esq.
11                                               Attorney for Plaintiff
12

13                                               LAW OFFICE OF ERIC ANVARI
14     Dated:                                    __________________
15                                               Eric Anvari, Esq.
16                                               Attorney for Defendants
17                                              *******
18                                              ORDER
19     IT IS SO ORDERED.
20

21     ___/s/__________________                                 Date: June 24, 2013
22     Fernando M. Olguin
23     United States District Court Judge
24

25


       _____________________________________________________________________________________________

                                                                       CV12‐5787 FMO (PJWx) – Page 2
